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 5 Attorneys for Plaintiff
   United States of America
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 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                   CASE NO. 2:18-CR-00080-JAM
12                                  Plaintiff,   REQUEST TO CONTINUE SENTENCING;
                                                 ORDER
13                           v.
                                                 DATE: June 23, 2020
14   JONATHAN LOPEZ CASTANEDA,                   TIME: 9:15 a.m.
                                                 COURT: Hon. John A. Mendez
15                                  Defendant.
16

17               REQUEST TO CONTINUE JUDGMENT AND SENTENCING

18         By previous order, this matter was set for judgment and sentencing on June 23,

19 2020. The defendant now moves to continue the judgment and sentencing until August

20 25, 2020, such that an in-person judgment and sentencing hearing can be held. The

21 United States does not oppose the continuance request. The United States and the

22 assigned probation officer are available on August 25.

23

24   Dated: June 22, 2020                            MCGREGOR W. SCOTT
                                                     United States Attorney
25

26                                                   /s/ JUSTIN L. LEE
                                                     JUSTIN L. LEE
27                                                   Assistant United States Attorney
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      REQUEST TO CONTINUE SENTENCING HEARING     1
               Case 2:18-cr-00080-JAM Document 78 Filed 06/23/20 Page 2 of 2


1    Dated: June 22, 2020                             /s/ MARK REICHEL
                                                      MARK REICHEL
2                                                     Counsel for Defendant
                                                      Jonathan Castaneda
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                                               ORDER
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             Based on the request of the parties, Judgment and Sentencing in this matter shall
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     be reset for August 25, 2020, at 9:15 a.m. IT IS SO ORDERED this 23rd day of June,
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     2020.
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10                                                    /s/ John A. Mendez
                                                THE HONORABLE JOHN A. MENDEZ
11                                              UNITED STATES DISTRICT COURT JUDGE
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      REQUEST TO CONTINUE SENTENCING HEARING      2
